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                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION

GOOD RIVER FARM, LP,                            §
                                                §
        Plaintiff,                              §
                                                §
v.                                              §             NO. 1:17-cv-01117
                                                §
MARTIN MARIETTA                                 §
MATERIALS, INC.; and                            §
TXI OPERATIONS, LP,                             §
                                                §
        Defendants.                             §


          DEFENDANTS’ MOTION FOR JUDGMENT AS A MATTER OF LAW
                         AND BRIEF IN SUPPORT


       Defendants Martin Marietta Materials, Inc. and TXI Operations, LP (“Martin Marietta”)

submit this Motion for Judgment as a Matter of Law and Brief in Support (the “Motion”)

pursuant to Federal Rule of Civil Procedure 50(a) and respectfully show the Court as follows:

                                     I. INTRODUCTION

       Floods are unfortunate and powerful acts of God. That is certainly true of the October 30,

2015 flood that flowed onto Good River Farm, LP’s (“Good River”) real property abutting the

Colorado River (and sitting in a 100-year floodplain). The law is clear, however, that no

defendant owes a duty to prevent floods or divert floodwaters, nor any duty to divert water in a

watercourse like the Colorado River. The law instead recognizes these acts for what they are:

unfortunate acts of God.

       Good River tries to sidestep this, claiming water from property owned by Martin Marietta

crossed the river during the flood. Good River’s primary argument is that alleged surface water




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from Martin Marietta’s property on the south side of the river was able to cross the Colorado

River during the flood and yet remain “surface water,” as opposed to becoming “water in a

watercourse” or “flood waters.” There is no support or authority for Good River’s unusual

characterization of how water flows. Instead, any water from Martin Marietta’s property ceased

to be surface water—and ceased to be actionable—when it entered the Colorado River. As a

result, Good River’s causes of action fail.

       As a matter of law, Good River’s theory of liability—that some act by Martin Marietta

caused water to come over the banks of the Colorado River to flood Good River’s property—

cannot sustain a cause of action because:

             There is no violation of the Texas Water Code for diversion of water in a
              watercourse like the Colorado River, or for water that flows into a watercourse,
              so Good River’s statutory cause of action fails.

             Martin Marietta had no duty to control flood waters, as opposed to surface waters,
              and therefore, Good River’s negligence claim fails.

             Good River’s claim for private nuisance claim is either based on negligence (for
              which there is no duty) or based on violation of the Texas Water Code (which
              does not govern floods, as described above).

             A permanent injunction requires there to be a viable underlying claim, which
              there is not.

       Good River has completed its case-in-chief and has been fully heard on its claims against

Martin Marietta. The Court should not submit Good River’s claims against Martin Marietta to

the jury because there is no legally sufficient basis for a reasonable jury to find for Good River.

                            II. ARGUMENT AND AUTHORITIES

       A court may properly grant a motion for judgment as a matter of law when “a party has

been fully heard on an issue and there is no legally sufficient evidentiary basis for a reasonable

jury to find for the party on that issue.” See FED. R. CIV. P. 50(a); Anthony v. Chevron USA, Inc.,

284 F.3d 578, 583 (5th Cir. 2002). Whether the evidence presented at trial will permit a court to


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enter judgment as a matter of law is governed by federal rather than state law. Ellis v. Weasler

Eng’g, Inc., 258 F.3d 326, 336 (5th Cir. 2001).

       In order to survive a Rule 50 motion and present a question for the jury, a non-movant

must at least establish a conflict in substantial evidence on each essential element of its claim.

Anthony, 284 F.3d at 583. The court must review all of the evidence in the record, draw all

reasonable inferences in favor of the non-movant and disregard all evidence favorable to the

movant that the jury is not required to believe. Reeves v. Sanderson Plumbing Prods., Inc., 530

U.S. 133, 150-51 (2000); Ellis, 258 F.3d at 337. There must be more than a mere scintilla of

evidence is insufficient to present a question for the jury. Boeing Co. v. Shipman, 411 F.2d 365,

374 (5th Cir. 1969).

A.     Good River has no statutory cause of action under Texas Water Code § 11.086
       because it only applies to surface water, and any water that may have come from
       Martin Marietta’s property ceased to be surface water when it entered the Colorado
       River.

       Section 11.086 of the Texas Water Code applies to diversion or impoundment of “surface

water,” not “flood water” or “water in a watercourse.” Dietrich v. Goodman, 123 S.W.3d 413,

417 (Tex. App.—Houston [14th Dist.] 2003, no pet.). Because surface water becomes water in a

watercourse when it is released into a watercourse, such as a river, § 11.086 cannot apply to any

water that might have come from Martin Marietta’s property, mixed with the Colorado River,

and collectively flowed onto Good River’s property in October 2015. Bonin v. Sabine River

Auth. of Texas (Bonin I), No. 1:17-cv-134, 2018 WL 1190234, at *6 (E.D. Tex. Feb. 8, 2018)

(“[T]he water was no longer ‘surface water’ as soon as the spillway released the water into the

Sabine River as a matter of law.” (emphasis added) (citing Salazar v. Sanders, 440 S.W.3d 863,

873 (Tex. App.—El Paso 2013, pet. denied); Dietrich, 123 S.W.3d at 419)), adopted by 2018

WL 118526 at *9 (E.D. Tex. Mar. 7, 2018).



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       Good River argues that surface water somehow crossed the Colorado River from Martin

Marietta’s property onto Good River’s property, never flowing with the Colorado River and thus

retaining its status as surface water, which in turn renders the statute applicable.

       Any surface water that flowed from Martin Marietta’s property to Good River’s property

had to release into and cross the Colorado River, coming “under the control and direction of the

watercourse”, and in so doing, became water in a watercourse. Dietrich, 123 S.W.3d at 420; see

also Dalon, 852 S.W.2d at 538-39 (“[I]f the floodwater forms a continuous body with the water

flowing in the ordinary channel . . . it is to be regarded as still a part of the stream”) (internal

citations omitted). Good River apparently contends that surface water does not become water in

a watercourse if it did not “flow” with the river—a standard no court has utilized. Good River

instead points to one witness who testified that he saw water coming over the Martin Marietta

embankment and that the flood waters on Good River’s property were flowing North to argue

that Martin Marietta’s water must have flowed across the Colorado River, not with the river and

this body of law does not apply. As an initial matter, the witness did not actually testify that the

water in the river flowed perpendicular to the normal flow of the river, much less support the

physical impossibility that water released into a swollen Colorado River never became part of it.

He testified that when standing a distance away from the river, water flowed towards him,

perpendicular to the river. This is no surprise as the floodwaters from the river would naturally

flow downhill, which in this case is perpendicular from the river’s elevated banks. In any event,

no court has imposed a “flow test” to determine whether surface water becomes water in a

watercourse. Instead, once water “reaches some bed or channel in which water is accustomed to

flow”—like the Colorado River—it ceases to be surface water. Dietrich, 123 S.W.3d at 419; see

also Bonin I, 2018 WL 1190234, at *5.




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       Because water from Martin Marietta’s property had to reach the Colorado River, a

watercourse, to somehow flood Good River’s property on the other side, the case law says that it

ceased to be surface water. Good River’s statutory claim under § 11.086 fails as a matter of law.

B.     Good River’s negligence claim fails because Martin Marietta had no duty to control
       flood waters.

       To prevail on its negligence claim, Good River must prove: (1) a legal duty owed by

Martin Marietta to Good River, (2) breach of that duty, and (3) that the breach proximately

caused damages to Good River. Nabors Drilling, U.S.A., Inc. v. Escoto, 288 S.W.3d 401, 404

(Tex. 2009). “The existence of a duty is a question of law.” Id.

       Private parties have no right or duty to control flood waters. See id.; Lewis v. Tex. Utils.

Elec. Co., 825 S.W.2d 722, 724 (Tex. App.—Dallas 1992, writ denied). Like water in a

watercourse, flood waters are owned by the State. Raburn v. KJI Bluechip Invs., 50 S.W.3d 699,

704 (Tex. App.—Fort Worth, 2001, no pet.) (“The State also has the ownership and the non-

delegable duty to control flood waters and to maintain the appurtenant instrumentalities used for

flood control.”) (citing TEX. CONST. art. XVI, § 59).

       Flood waters are defined as “waters above the regular flow of a stream.” Id. Flood waters

are those waters that “have overflowed a river, stream or natural water course and have formed a

continuous body of water flowing in the ordinary channel.” Jones v. Zearfoss, 456 S.W.3d 618,

627 (Tex. App.—San Antonio 2015, no pet.).;see also Bonin v. Sabine River Authority of Tex.

(Bonin II), No. 1:17-CV-00134-TH, 2019 WL 1246259, at *6 (E.D. Tex. Mar. 1, 2019)

(“‘Floodwaters’ are waters that have ‘overflowed a natural water course but remain a continuous

part of that original water course.’”).

       Good River’s legal argument ignores the Bonin II decision where the court determined

that even the intentional release of surface water into a river was not actionable because the



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water became flood waters when it touched the river and defendants “owed no duty to control

such floodwaters.” Bonin v. Sabine River Authority of Tex. (Bonin II), No. 1:17-CV-00134-TH,

2019 WL 1246259, at *7 (E.D. Tex. Mar. 1, 2019), adopted by 2019 WL 1244705 (E.D. Tex.

Mar. 18, 2019).

        For example, after dismissing the plaintiffs’ negligence per se and Water Code claims in

Bonin I, the trial court granted plaintiffs leave to amend, and plaintiffs only reasserted their

negligence claim in Bonin II. Id. at *2–3. In Bonin II, the trial court dismissed the negligence

claim because “as a matter of law” the water the river authority defendants released from the

spillway ceased being surface water “as soon as the spillway gates released the water into the

Sabine River” and became flood waters “when it overflowed the natural watercourse of the

Sabine River.” Id. at *7. Therefore, the defendants “owed no duty to control such floodwaters,”

“cannot breach a duty they do not owe,” and “cannot proximately cause damages if they have no

duty to control the waters in the first place.” Id.

        Similarly here, the waters in question are flood waters that Martin Marietta has no duty to

control. Good River alleges flooding from the Colorado River. Even if Good River contends that

the flooding of its property was caused by Martin Marietta’s diversion of the Colorado River,

Good River is still complaining of damage caused by flood waters, which Martin Marietta, as

private landowners, have no duty to control. Lewis, 825 S.W.2d at 724.

        To the extent Good River alleges that the flooding was caused by water from the

excavated pit itself flowing across the entire Colorado River and onto Good River’s property,

that water became water in a watercourse as soon as it flowed into the Colorado River and flood

water when it overflowed the natural watercourse water. Bonin II, 2019 WL 1246259, at *7.




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Again, Martin Marietta has no duty to control flood water. See also Raburn, 50 S.W.3d at 704

(affirming trial court’s decision that water in question was flood water “as a matter of law”).

        The water that flowed onto Good River’s property is either water in a watercourse or

floodwater, which Martin Marietta has no duty to control, and Good River’s negligence claim

fails as a matter of law.

C.      Good River’s private nuisance claim fails for lack of any duty.

        A private nuisance “is a condition that substantially interferes with the use and enjoyment

of land by causing unreasonable discomfort or annoyance to persons of ordinary sensibilities

attempting to use and enjoy it.” Crosstex N. Tex. Pipeline, L.P. v. Gardiner, 505 S.W.3d 580,

593 (Tex. 2016). Private nuisance can be based on strict liability, negligence, or intentional

conduct, but negligence is the only theory of liability applicable here. See id. The Court denied

summary judgment on Good River’s private nuisance claim because “a dispute of material fact

exists with regard to whether Martin Marietta owed Good River a duty of care either under TWC

section 11.086 or under the common law for Good Reiver’s negligence claim, and the evidence

supporting Good River’s negligence claim also supports its nuisance claim.” (Doc. 63 at 10.)

Whether the defendant negligently causes a private nuisance “is governed by ordinary negligence

principles.” Crosstex N. Tex. Pipeline, 505 S.W.3d at 607. With no duty existing as discussed

above, Good River’s private nuisance claim has no basis as a matter of law.

D.      Good River is Not Entitled to a Permanent Injunction Because Its Underlying
        Causes of Action All Fail.

        A permanent injunction requires the plaintiff to demonstrate that he is entitled to a

remedy in equity. ITT Educ. Servs., Inc. v. Arce, 533 F.3d 342, 347 (5th Cir. 2008). See also

Long Canyon Phase II & III Homeowner’s Assoc., Inc. v. Cashion, 517 S.W.3d 212, 224 (Tex.

App.—Austin 2017, no pet.) (requiring existence of wrongful act to be entitled to injunction



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under Texas law). Accordingly, Good River’s request for a permanent injunction must also be

denied as a matter of law because all of its underlying claims are not actionable. Crook v.

Galaviz, 616 F. App’x 747, 753 (5th Cir. 2015) (“As an injunction is a remedy that must be

supported by an underlying cause of action, the failure of [plaintiff’s] constitutional and common

law claims also warrants dismissal of this claim.”); Berry v. Seterus, Inc., No. 2:17-CV-5, 2017

WL 1196207, at *4 (S.D. Tex. Mar. 31, 2017) (dismissing claim for injunctive relief when all

theories of liability failed).

                                       III. CONCLUSION

        For the foregoing reasons, Defendants Martin Marietta Materials, Inc. and TXI

Operations, LP request that the Court grant their Motion for Judgment as a Matter of Law and

grant Martin Marietta judgment as a matter of law on all of Good River’s claims and grant them

such other and further relief, at law or in equity, to which they may be justly entitled.

                                               Respectfully submitted,


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